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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                   DELTA DIVISION

SHIRLEY WHITE, as Wrongful Death
Beneficiary of KEITH PERKINS, DECEASED                                           !    PLAINTIFF

v.
                                                                                 !
                                                                  NO.2:09-CV-q0161-GHD-JMV
                                                                                 I,
WEXFORD HEALTH SOURCES, INC.,
and TUNICA COUNTY, MISSISSIPPI                                                   !DEFENDANTS
                                                                                 1
                                                                                 !



                                             ORDER

       Pursuant to an opinion issued this day, it is hereby ORDERED that

       (1) Defendant Wexford Health Sources, Inc.'s motion for immunity andkorresponding

partial summary judgment [34] is DENIED; and
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       (2) Plaintiffs motion for leave to file supplemental brief in opposition t4 Wexford's
                                                                                 I    ­
                                                                                 i
motion for immunity and for a corresponding partial summary judgment [65] is ~ENIED.
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       All memoranda, depositions, declarations, and other materials considereq by the Court in
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ruling on these motions are hereby incorporjUed into and made a part of the recotd in this action.

.      SO ORDERED, this, the     slL.s;.y      of June,2~n                                r


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                                                      SENIOR JUDGE               1
